       Case 3:24-cv-04195-TSH           Document 6       Filed 07/26/24      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA



                         NOTICE OF ASSIGNMENT OF CASE
                TO A UNITED STATES MAGISTRATE JUDGE FOR TRIAL

        Pursuant to General Order 44, the Assignment Plan of the United States District Court
for the Northern District of California, this case has been randomly assigned to a Magistrate
Judge.

        Pursuant to 28 U.S.C. § 636(c), with written consent of all parties, a magistrate judge
may conduct all proceedings in a case, including all pretrial and trial proceedings, entry of
judgment and post-trial motions. Appeal will be directly to the United States Court of Appeals
for the Ninth Circuit.

        Attached is a form to complete to indicate whether you consent to proceed before the
assigned magistrate judge or decline to proceed before the assigned magistrate judge. This form
is also available from the Court’s website: cand.uscourts.gov/civilforms. You are free to
withhold consent without adverse consequences. If any party declines, the case will be
reassigned to a district judge.

       If you are the plaintiff or removing party in this case, you must file your
consent/declination form within 14 days of receipt of this notice. Each other party must file its
consent/declination form within 14 days of appearing in the case.

        The plaintiff or removing party must serve a copy of this notice upon all other parties to
this action.
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                                                                                                                                     Reset Form

                                   1

                                   2
                                                                        UNITED STATES DISTRICT COURT
                                   3
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   4

                                   5   CRAIG ROWELL, an individual; ALAINA AIKIN,
                                       an individual; SANJAY GARG, an individual,
                                   6                                                           Case No. C 3:24-cv-04195

                                   7                                                           CONSENT OR DECLINATION
                                                                Plaintiff(s)                   TO MAGISTRATE JUDGE
                                   8             v.                                            JURISDICTION
                                       LABCORP CENTRAL LABORATORY
                                   9   SERVICES LIMITED PARTNERSHIP, a limited
                                       partnership; and DOES 1 through 100,
                                  10                            Defendant(s).

                                  11   INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
                                       or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
                                  12   jurisdiction in this matter. Sign this form below your selection.
Northern District of California




                                  13
 United States District Court




                                           ✔ Consent to Magistrate Judge Jurisdiction
                                           ☐
                                  14
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
                                  15   United States magistrate judge conduct all further proceedings in this case, including trial and
                                       entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
                                  16   United States Court of Appeals for the Ninth Circuit.
                                  17
                                               OR
                                  18
                                           ☐ Decline Magistrate Judge Jurisdiction
                                  19
                                              In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
                                  20
                                       magistrate judge conduct all further proceedings in this case and I hereby request that this case
                                  21   be reassigned to a United States district judge.

                                  22
                                                ________________                                      Alan F. Cohen
                                       DATE:    July 26, 2024                                NAME:
                                  23
                                                                                    COUNSEL FOR
                                  24                                                               Plaintiffs
                                                                                    (OR “PRO SE”):

                                  25                                                                                          Digitally signed by Alan Cohen
                                                                                                      Alan Cohen              Date: 2024.07.26 09:08:13
                                                                                                                              -07'00'
                                  26                                                                                    Signature
                                  27

                                  28
